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                                          Application granted. In light of the extension of
                                          discovery deadlines, the case management
                                          conference scheduled for November 17, 2021 at
                                          2:30 p.m. is adjourned to January 24, 2022 at 2:30
                                          p.m.

                                          The Clerk of the Court is respectfully directed to
                                          terminate the motion sequence pending at Doc. 42.

                                          SO ORDERED.


                                          _______________________
                                          Philip M. Halpern
                                          United States District Judge

                                          Dated: White Plains, New York
                                                 November 15, 2021
